 Case 2:21-cr-20264-DPH-KGA ECF No. 8, PageID.15 Filed 04/26/21 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

United States of America,

                   Plaintiff,                 Case No.: 21-cr-20264
v.


D-1 Ylli Didani,

               Defendant.
_________________________________/

           Stipulation to Adjourn Detention Hearing and Arraignment

      The United States of America and Ylli Didani, by and through their

respective counsel, stipulate and agreed that there is good cause to adjourn the

detention hearing and arraignment in this case currently scheduled for April 26,

2021, until April 28, 2021, at 1:00 p.m. See 18 U.S.C. 3142(f)(2). The extension of

time is necessary to allow defense counsel, who was recently retained, to consult

with the defendant in order to adequately prepare for the hearing.

      The parties further stipulate and agree that the Court’s April 21, 2021 order

detaining the defendant shall remain in full force and effect pending the detention

hearing.

      Wherefore, the parties respectfully request that the Court enter an order

adjourning the detention hearing and arraignment in this case currently scheduled


                                          1
 Case 2:21-cr-20264-DPH-KGA ECF No. 8, PageID.16 Filed 04/26/21 Page 2 of 3




for April 26, 2021, to April 28, 2021, at 1:00 p.m.

Respectfully submitted,

SAIMA S. MOHSIN
Acting United States Attorney

s/Mark Bilkovic                               s/Camilla Barkovic (with consent)
Mark Bilkovic                                 Camilla Barkovic
Assistant United States Attorney              Counsel for Ylli Didani
211 W. Fort Street, Suite 2001                25805 Harper Ave.
Detroit, Michigan 48226                       Saint Clair Shores, Michigan 48081
Phone: (313) 226-9623                         (586) 773-2120
Mark.bilkovic@usdoj.gov                       Camillabarkovic@gmail.com


Dated: April 26, 2021




                                          2
 Case 2:21-cr-20264-DPH-KGA ECF No. 8, PageID.17 Filed 04/26/21 Page 3 of 3




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
United States of America,

                   Plaintiff,                 Case No.: 21-cr-20264
v.

D-1 Ylli Didani,

               Defendant.
_________________________________/
            Order to Adjourn Detention Hearing and Arraignment
      This matter having come before the Court upon the stipulation of the parties,

and the Court having reviewed the stipulation and the basis upon which the parties

have requested an extension of time to allow the defendant and his attorney to

adequately prepare for the detention hearing and arraignment, for the reasons

stated herein, and in the stipulation hereto the Court orders the following:

      This detention hearing and arraignment are adjourned from April 26, 2021 to

April 28, 2021, at 1:00 p.m.

      The Court’s April 21, 2021 order detaining the defendant shall remain in full

force and effect pending the detention hearing.

                                              IT IS SO ORDERED.


Dated: April 26, 2021                         s/Anthony P. Patti
                                              Hon. Anthony P. Patti
                                              United States Magistrate Court Judge

                                          3
